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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                         )   Chapter 11
                                                               )
CENTER CITY HEALTHCARE, LLC d/b/a                              )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                              )
al.,1                                                          )   Jointly Administered
                                                               )
                                      Debtors.                 )   Objection Deadline: July 24, 2020 at 4:00 p.m.
                                                                   Hearing Date: To be determined (if necessary)
                                                               )

           NOTICE OF STIPULATION GRANTING LIMITED RELIEF FROM
           THE AUTOMATIC STAY WITH RESPECT TO PERSONAL INJURY
       CLAIM ASSERTED BY JA’NIYAH BRODNAX, A MINOR, BY HER PARENTS
      AND NATURAL GUARDIANS, DAIYCHELLE ATKINSON AND SEAN BRODNAX

          PLEASE TAKE NOTICE that on July 9, 2020, counsel for the above-captioned debtors
  (the “Debtors”) and counsel for Ja’Niyah Brodnax, a minor, by her parents and natural
  guardians, Daiychelle Atkinson and Sean Brodnax (“Plaintiff”), entered into a Stipulation
  Granting Limited Relief from the Automatic Stay with Respect to Personal Injury Claim
  Asserted by Ja’Niyah Brodnax, a Minor, by her Parents and Natural Guardians,
  Daiychelle Atkinson and Sean Brodnax (the “Stipulation”). Subject to bankruptcy court
  approval, the Stipulation provides for limited relief from the automatic stay to permit the
  Plaintiff to proceed against certain of the Debtors to the extent of any available insurance.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the Court’s approval of
  the Stipulation must be (a) in writing and served on or before July 24, 2020 at 4:00 p.m.
  (prevailing Eastern Standard Time) (the “Objection Deadline”); (b) filed with the Clerk of the
  United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,
  Wilmington, Delaware 19801; and (c) served as to be received on or before the Objection
  Deadline by the undersigned attorneys for the Debtors.

          PLEASE TAKE FURTHER NOTICE THAT if any objections to the Stipulation are
  filed, and the parties are unable to reach a resolution thereof, a hearing on the Stipulation will be
  held before the Honorable Mary F. Walrath, United States Bankruptcy Court for the District of
  Delaware, 824 Market Street, 5th Floor, Courtroom #4, Wilmington, Delaware 19801, at a date
  and time convenient to the Court.

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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
               PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
               Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
               Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
               (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
               216 N. Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.



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       PLEASE TAKE FURTHER NOTICE THAT only objections made in writing and timely
filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE STIPULATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: July 10, 2020                              SAUL EWING ARNSTEIN & LEHR LLP


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                                                  Counsel for the Debtors and Debtors in Possession




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